
66 So.3d 1084 (2011)
Mayra DECOCQ and James D. Decocq, Appellant,
v.
DEUTSCHE BANK NATIONAL TRUST COMPANY, etc., Appellee.
No. 5D10-3971.
District Court of Appeal of Florida, Fifth District.
August 16, 2011.
Matthew D. Valdes and Craig R. Lynd, Kaufman, Englett &amp; Lynd, PLLC, Orlando, for Appellant.
Nancy C. Ciampa, of Carlton Fields, P.A., Miami, and Michael K. Winston and Dean A. Morande, Carlton Fields, P.A., West Palm Beach, for Appellee.
PER CURIAM.
AFFIRMED. See, State ex. rel. Gore v. Chillingworth, 126 Fla. 645, 171 So. 649 (1936); Craven v. J.M. Fields, Inc., 226 So.2d 407 (Fla. 4th DCA 1969); Decker v. Kaplus, 763 So.2d 1229, 1229 (Fla. 5th DCA 2000).
ORFINGER, C.J., GRIFFIN and COHEN, JJ., concur.
